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9
                                UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                   SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,         )              CR 05-0284 SI
                                       )
14                Plaintiff,           )
                                       )
15    v.                               )
                                       )                ORDER EXCLUDING TIME
16                                     )                UNDER THE SPEEDY TRIAL ACT
                                       )
17   AKRAM SABAR CHAUDHRY,             )
        aka Akram Sabar, and           )
18   MOHAMMAD ADIL,                    )
        aka Adil Mohammad,             )
19                                     )
                                       )
20                       Defendants.   )
     ________________________________ _)
21
               The United States of America, by and through its attorneys, Kevin V. Ryan,
22
     United States Attorney for the Northern District of California, by J. Douglas Wilson,
23
     Assistant United States Attorney, and defendants Akram Sabar Chaudhry and Mohammad
24
     Adil, by and through their attorneys, stipulated in open court, and the Court agrees that
25
     the time period between May 27 2005, and June 24, 2005, shall be excluded from the
26
     calculation of time in which the trial of the captioned matter must commence pursuant to
27
28

     ORDER EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
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1    the Speedy Trial Act. This period of time is excluded pursuant to 18 U.S.C. §
2    3161(h)(8)(B)(iv) in order for the parties to prepare effectively for trial in light of
3    discovery and for continuity of counsel. The parties agree and the Court finds that the
4    ends of justice served by the exclusion of this time outweigh the best interest of the public
5    and the defendants in a speedy trial, all pursuant to 18 U.S.C. § 3161(h)(8)(A).
6
7    DATED: May 27, 2005                         Respectfully submitted,
8                                                KEVIN V. RYAN
                                                 United States Attorney
9
10
                                                                          /S/
11                                               J. DOUGLAS WILSON
                                                 Assistant United States Attorney
12
13   SO ORDERED.
14   DATED:
15
16                                               __________________________________
                                                 SUSAN ILLSTON
17                                               DISTRICT JUDGE
                                                 UNITED STATES DISTRICT COURT
18
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     ORDER EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
